                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                            –Houston Division–


 COUNTY OF ANGELINA,

                 Plaintiff
                                          Case No. 4:19–cv–03590
                   –v–
                                       The Honorable Kenneth M. Hoyt
 ALLERGAN PLC, et al.,

                Defendants.


      MEMORANDUM IN SUPPORT OF MOTION BY CVS HEALTH
  CORPORATION AND MCKESSON CORPORATION FOR A TEMPORARY
  STAY PENDING LIKELY TRANSFER TO MULTIDISTRICT LITIGATION




DC: 7172710-1
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     Defendants CVS Health Corporation (“CVS”) and McKesson Corporation

(“McKesson”) submit this memorandum in support of their joint motion for a

temporary stay of these proceedings until the Judicial Panel on Multidistrict

Litigation’s (“JPML”) final decision whether to transfer this action to the

Multidistrict Litigation in the Northern District of Ohio, In re National Prescription

Opiate Litig., No. 1:17-md-2804 (“Opiate MDL”).

I.      STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

     This action is in its earliest stages. Plaintiff Angelina County’s action is one of

more than 2,300 opioid lawsuits filed by government entities and other plaintiffs

against various defendants including manufacturers, distributors, and prescribers of

prescription opioid medications. Plaintiff seeks damages on behalf of its citizens,

including resident doctors, health care payors, and opioid-addicted individuals.

Plaintiff contends that Defendants have violated alleged duties that purportedly arise

under federal law to monitor suspicious orders of prescription opiates, and as a result,

are liable for “damages and injuries to Angelina County and its residents.” First Am.

Petition ¶ 376.

     On December 5, 2017, the JPML created the Opiate MDL for cases similar to this

one: cases in which “cities, counties and states . . . allege that: (1) manufacturers of

prescription opioid medications overstated the benefits and downplayed the risks of

the use of their opioids and aggressively marketed . . . these drugs to physicians,

and/or (2) distributors failed to monitor and report suspicious orders of prescription

opiates.” In re Nat’l Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1378-79

(J.P.M.L. 2017). To date, more than 2,300 actions have been transferred to, or filed
in, the Opiate MDL, including multiple cases from the United States District Courts

in Texas.1 As new cases are filed, the JPML continues to transfer to the Opiate MDL

actions just like this one. Plaintiff’s Petition is similar to the complaints filed in, or

transferred to, the Opiate MDL.

      Plaintiff’s Petition is also similar to multiple cases removed to this Court and

stayed pending a final transfer decision by the JPML. In staying two of those cases,

Chief Judge Rosenthal recently observed that, given the similarity of the issues

raised by these matters, staying these cases is “appropriate to avoid duplicative

litigation of those issues, to improve judicial economy, and to reduce the risk of

inconsistent results.” County of Jim Hogg v. Purdue Pharma, L.P., No. 4:19-cv-02816

(S.D. Tex. Sept. 4, 2019), Dkt. No. 11 at 3, Exhibit 1; see also County of Jim Wells v.

Purdue Pharma, L.P., No. 4:19-cv-03580 (S.D. Tex. Oct. 4, 2019), Dkt. No. 8 at 3,

Exhibit 2.

II.       STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

      The sole issue for the court is whether to briefly stay the case until the JPML

considers whether to finalize its order transferring this action to the Opiate MDL.

The Court’s power to stay proceedings is “incidental to the power inherent in every



     See, e.g., County of Walker v. OptumRx, Inc., No 4:19-cv-01767 (S.D. Tex. July 15, 2019)
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(Hughes, J.); Kaufman County v. Purdue Pharma L.P., No. 3:18-cv-02270-M (N.D. Tex. Aug.
27, 2018); Gonzales Healthcare Sys. v. McKesson Corp., No. 1:18-cv-45867 (N.D. Tex. July 24,
2018); City of Eagle Pass v. Purdue Pharma L.P., No. 2:18-cv-00051 (W.D. Tex. Aug. 9, 2018);
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2018); County of Zavala v. Purdue Pharma L.P., No. 2:18-cv-00052 (W.D. Tex. Aug. 9, 2018).

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court to control the disposition of the causes on its docket with economy of time and

effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254

(1936). “The decision whether to stay proceedings is discretionary and the exercise of

discretion is guided by the policies of justice and efficiency.” Davis v. Wyeth, 2003 WL

23119734, at *3 (N.D. Tex. Nov. 13, 2003) (quoting Harleaux v. Wyeth, No. H-02-2221

(S.D. Tex. 2002)).

III.       BACKGROUND

       On November 14, 2018, Plaintiff Angelina County filed a Petition in the District

Court of Angelina County, Texas against Purdue Pharma L.P.; Purdue Pharma Inc.;

The Purdue Frederick Company; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;

Janssen       Pharmaceutica,   Inc.   n/k/a   Janssen   Pharmaceuticals,      Inc.;   Endo

Pharmaceuticals, Inc., and Does 1 – 100. The case was assigned Case No. CV-00785-

18-11. On December 11, 2018, the case was transferred as a tag-along action to the

152nd District Court of Harris County, Texas and consolidated for pre-trial purposes

with the MDL styled In re Texas Opioid Litigation, Docket No. 2018-63587 (the

“Texas MDL”). The case was assigned MDL Pretrial Cause No. 2018-87846.2

       On August 23, 2019, Plaintiff filed a First Amended Petition in the Texas MDL,

adding a number of parties, including McKesson Corporation, AmerisourceBergen

Corporation, AmerisourceBergen Drug Corporation, and Cardinal Health, Inc.



     On December 13, 2018, Defendants Purdue Pharma L.P., Purdue Pharma Inc., and The
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Purdue Frederick Company Inc. (collectively, “Purdue”) removed this action to the Southern
District of Texas, on the grounds that there was complete diversity of citizenship between
Plaintiff and Defendants, and that the amount in controversy satisfied the jurisdictional
minimum. The action was remanded to the District Court of Harris County on February 21,
2019, where it has been pending in the Texas MDL.
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(collectively, “Distributor Defendants”), as well as Allergan plc f/k/a Actavis plc;

Actavis, LLC; Actavis Pharma, Inc., f/k/a Watson Pharma, Inc.; Par Pharmaceutical,

Inc. d/b/a Par Pharmaceutical; Par Pharmaceutical Companies, Inc.; CVS Health

Corporation; Walgreen Co.; Walgreens Boots Alliance, Inc.; Morris & Dickson Co.,

LLC; SpecGX LLC; Amneal Pharmaceuticals LLC; Amneal Pharmaceuticals, Inc.

f/k/a Atlas Holdings, Inc.; and Wal-Mart Inc. f/k/a Walmart Stores, Inc. Plaintiff

brings claims for negligent and intentional creation of a public nuisance; common law

fraud; negligence; gross negligence; unjust enrichment; civil conspiracy; and relief

under the Texas Controlled Substances Act. Plaintiff seeks damages and equitable

relief for alleged injuries to itself and, critically, to its residents.

   As mentioned, the allegations set forth in Plaintiff’s Petition resemble those

asserted in nearly all of the complaints filed in the Opiate MDL. In fact, the

allegations are nearly identical to those asserted in County of Summit, Ohio v. Purdue

Pharma L.P., MDL No. 17-md-2804, Case No. 1:18-op-45090, a bellwether case that

is currently being litigated in the Opiate MDL.

   Plaintiff’s Petition also resembles the following cases, each of which was removed

under CAFA (or CAFA and federal question) and then either stayed until the JPML’s

next hearing or stayed and then transferred to the Opiate MDL:

              a. Noble County, Ohio by the Noble County Commissioners v.
                 Cardinal Health, Inc., No. 2:18-cv-01379-EAS-EPD, Dkt. No.
                 1 (S.D. Ohio Nov. 6, 2018) (Sargus, C.J.) (removed under
                 CAFA and transferred the Opiate MDL);

              b. Washington County, Ohio, By its Commissioners v. Cardinal
                 Health, Inc., No. 2:18-cv-01706-EAS-KAJ (S.D. Ohio Dec. 14,
                 2018), (Sargus, C.J.) (same);

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             c. Meigs County v. Cardinal Health, Inc., No. 2:18-cv-01582-
                EAS-EPD (S.D. Ohio Dec. 6, 2018) (Sargus, C.J.) (same);

             d. City of Norwich v. Purdue Pharma L.P., No. 3:19-cv-00770 (D.
                Conn. Jun. 13, 2019) (Shea, J.) (same);

             e. People of the State of Illinois, People of Union County, and
                County of Union v. Purdue Pharma L.P., No. 1:19-cv-2169
                (N.D. Ill. Mar. 28, 2019) (Walker, J.) (same);

             f. Town of Enfield v. Purdue Pharma L.P., No. 3:19-cv-00789 (D.
                Conn. Jun. 10, 2019) (Arterton, J.) (same);

             g. County of Walker v. OptumRx, Inc., No 4:19-cv-01767 (S.D.
                Tex. July 15, 2019) (Hughes, J.) (same);

             h. County of Duval v. Purdue Pharma L.P., No. 4:19-cv-02504
                (S.D. Tex. July 26, 2019) (Hittner, J.) (same);

             i. Ellis County v. Walgreens Boot Alliance Inc., No. 4:19-cv-
                02256 (S.D. Tex. July 24, 2019) (Hittner, J.) (same);

             j. Rockwall County v. CVS Health Corporation, No. 4:19-cv-2181
                (S.D. Tex. July 4, 2019) (Gilmore, J.) (same);

             k. Jim Wells County v. Purdue Pharma L.P., No. 4:19-cv-03580
                (S.D. Tex. Oct. 4, 2019) (Rosenthal, C.J.) (same);

             l. Jim Hogg County v. Purdue Pharma L.P., No. 4:19-cv-02816
                (S.D. Tex. Sept. 4, 2019) (Rosenthal, C.J.) (stayed, awaiting
                transfer decision by JPML); and

             m. City of Dover v. Purdue Pharma L.P., No. 1:19-cv-01749-CFC
                (D. Del. Oct. 8, 2019) (same).

   The thrust of Plaintiff’s Petition is that the “Manufacturing Defendants and

Distributor Defendants worked hand and glove to glut Angelina County with more

opioids than could possibly be consumed for therapeutic purposes . . . .” First Am. Pet.

¶ 24. Plaintiff also alleges that the “Retailer Defendants [i]gnored [r]ed [f]lags,


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[s]ystematically [f]illing [i]nvalid and [i]nappropriate [p]rescriptions.” Id. at 85.

Based on these allegations, Plaintiff claims injuries to itself and its residents

stemming from the alleged abuse of addictive opioids by residents in Plaintiff’s

County and the State of Texas.

   Defendant McKesson removed this case under the federal officer removal statute,

28 U.S.C. § 1442(a)(1).      S.D. Tex. Dkt. No. 1.3       Shortly thereafter, CVS filed a

supplemental notice of removal pointing out two additional grounds for removal:

federal question jurisdiction (Plaintiff’s claims are based on violations of duties

created by the federal Controlled Substances Act) and the Class Action Fairness Act

(“CAFA”), 28 U.S.C. §§ 1332(d) and 1453(b) (Plaintiff seeks to collect damages on

behalf of its residents). S.D. Tex. Dkt. No. 4.

   Following removal, Cardinal Health filed a notice with the JPML tagging this case

for transfer to the Opiate MDL. See JPML Dkt. No. 5772. Based on that notice, the

JPML issued a conditional transfer order, indicating that the case should be

transferred because it appears to “involve questions of fact that are common to the

actions previously transferred to the Northern District of Ohio and assigned to Judge

Polster.” JPML Dkt. No. 5848, 5849 (“Conditional Transfer Order”) (attached as

Exhibit 3). The JPML is now poised to consider whether to finalize its transfer order.




   3  “JPML Dkt.” refers to the JPML’s docket in In re National Prescription Opiate
Litigation, MDL No. 2804 (J.P.M.L.), and “S.D. Tex. Dkt.” refers to this Court’s docket in this
action.
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IV.      SUMMARY OF THE ARGUMENT

      This Court should adopt the reasoning of Chief Judge Rosenthal in the nearly-

identical cases of Jim Hogg and Jim Wells. This Court routinely stays proceedings in

cases that have been conditionally transferred by the JPML to an established MDL.

E.g., Halliburton Energy Serv.s, Inc. v. BP Expl. & Prod. Inc., 2012 WL 149525 (S.D.

Tex. Jan. 18, 2012) (granting stay of proceedings so that the JPML could consider

whether the case should be transferred to the MDL). “A stay pending the Panel’s

decision can increase efficiency and consistency, particularly when the transferor

court believes that a transfer order is likely and when the pending motions raise

issues likely to be raised in other cases as well.” Manual for Complex Litigation

(Fourth) § 22.35 (2004). The JPML is likely to finalize its order transferring this

action. And the removal and remand issues raised by this case already are pending

before Judge Polster in the Opiate MDL. Accordingly, a temporary stay is warranted.

V.       ARGUMENT

      In situations involving a pending transfer decision by the JPML, this Court has

recognized that “judicial economy is served by a stay pending transfer [to an MDL] if

the issues involved in the remand motion are likely to arise in the cases that have

been or will be transferred to the MDL transferee court.” Ayers v. ConAgra Foods,

Inc., 2009 WL 982472, at *1 (S.D. Tex. Apr. 9, 2009). In these situations, this Court

routinely elects to stay cases pending a final transfer decision to an MDL. See, e.g.,

Nguyenv. BP Expl. & Prod. Inc., 2010 WL 3169316 (S.D. Tex. Aug. 9, 2010) (same);

Anderson v. Merck & Co., 2007 WL 43770 (S.D. Tex. Jan. 5, 2007) (same); Trahan v.


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BP, PLC, 2010 WL 4065602 (S.D. Tex. Oct. 15, 2010) (same); Ayers, 2009 WL 982472

(denying motion to remand without prejudice in light of the stay order pending the

JPML’s final transfer decision).

   The rationale for staying remand proceedings in this situation is straightforward:

if the JPML transfers a case to the MDL, the transferee judge can rule on all of the

pending motions that present the same issue. If the JPML does not transfer this case,

this Court can address the remand motion at that time. The JPML is likely to finalize

its order transferring this action. And the removal and remand issues raised by this

case already are pending in the Opiate MDL. Accordingly, a temporary stay is

warranted.

   In determining whether a stay is appropriate, this Court considers three factors:

“(1) the potential prejudice to Plaintiffs from a brief stay; (2) the hardship to [the

moving party] if the stay is denied; and (3) the judicial efficiency in avoiding

duplicative litigation . . . .” Nguyen, 2010 WL 3169316, at *1. Because the last factor—

judicial economy—is the most relevant factor to this motion, CVS will address the

factors in reverse order.

   First, a stay would promote judicial economy because it would conserve the

parties’ resources, avoid duplicative litigation, and prevent inconsistent rulings. In

Anderson, this Court recognized the importance of avoiding duplicative rulings on

similar issues in cases pending transfer to an MDL. Anderson, 2007 WL 43770, at *1.

In issuing a stay, this Court recognized that the remand issues involved in the case

were common to jurisdictional issues currently pending in other cases in the MDL.


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Id. Consequently, the Court held that “[s]taying this case in order to give the MDL

court the opportunity to transfer it would promote judicial efficiency and help to avoid

the possibility of inconsistent decisions.” Id.

      That is the situation here. The jurisdictional issues presented in this case—

whether removal is proper under the federal officer removal statute, CAFA, and

federal question—have already arisen in multiple cases that have been transferred

to the Opiate MDL. Indeed, federal district courts in 56 opioid-related cases that were

removed solely under CAFA or under CAFA and other grounds have stayed

proceedings for a brief period of time to allow the JPML time to decide whether to

transfer the case to the Opiate MDL. See Exhibit 4 (listing CAFA removed cases).

      As noted, in Jim Hogg County v. Purdue Pharma L.P., No. 4:19-cv-02816 (S.D.

Tex. Sept. 4, 2019) and Jim Wells County v. Purdue Pharma L.P., No. 4:19-cv-03580

(S.D. Tex. Oct. 4, 2019), Chief Judge Rosenthal recognized that a stay would promote

judicial economy, and further observed that: “Other cases consolidated before the

MDL transferee court in Ohio present similar removal issues, making a stay

appropriate to avoid duplicative litigation of those issues, to improve judicial

economy, and to reduce the risk of inconsistent results.” Id. at 3. This Court further

opined that the “hardship to CVS if a stay is not granted is the exposure to

inconsistent results in similar cases, requiring it to engage in duplicative litigation.”

Id.

      In addition, Judge Hughes recently issued a stay in County of Walker v. Abbott

Labs., No. 4:19-cv-01767 (S.D. Tex. May 14, 2019). There, defendants removed the


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case under CAFA and plaintiff moved for remand. After the defendants moved to stay,

this Court entered an order staying the case “pending the final transfer

determination of the Judicial Panel on Multidistrict Litigation.” Id. at Dkt. No. 83. In

Ellis County v. Walgreens Boot Alliance, Inc., No. 4:19-cv-02256 (S.D. Tex. July 24,

2019) (Hittner, J.), defendants removed the case on CAFA and federal question

grounds and plaintiff moved for remand. On July 24, 2019, Judge Hittner granted

Defendant Walgreens Boots Alliance, Inc.’s Motion for a Temporary Stay of

Proceedings Pending Final Ruling by the Judicial Panel on Multidistrict Litigation.

Id. at Dkt. No. 29. In County of Duval v. Purdue Pharma L.P., No. 4:19-cv-02504 (S.D.

Tex. July 11, 2019)—another identical opioid action removed under CAFA—Judge

Hittner similarly granted Defendant CVS’s motion for a stay of proceedings pending

the JPML’s decision on transfer to the Opioid MDL on July 26, 2019.

   Finally, in Rockwall County v. CVS Health Corporation, No. 4:19-cv-2181 (S.D.

Tex. June 17, 2019), Defendants removed based on CAFA and federal question.

Despite a pending motion for remand filed by plaintiff, Judge Gilmore

administratively closed the case, granting the parties “leave to move to reinstate the

case on the Court’s active docket after termination of the MDL 2804 proceedings.” Dkt.

No. 31 (emphasis added) (attached as Exhibit 5). The same approach is warranted

here.4 Because this case is nearly identical to the scores of cases that have been


   4 In decisions that predated Jim Hogg and Jim Wells, Judge Hanen parted company with
Judge Hughes, Judge Gilmore, and Judge Hittner and remanded two prescription opioid
actions: Johnson County v. Purdue Pharma, L.P., No. 4:19-cv-01637 (S.D. Tex. May 3, 2019)
and Fire and Police Retiree Health Care Fund v. CVS Health Corporation, No. 4:19-cv-02089
(S.D. Tex. June 7, 2019). By far—both in this Court and elsewhere—the more common
approach has been to allow conditionally transferred cases to transfer to the MDL so that
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removed and later transferred to the Opiate MDL by the JPML, a brief stay is

appropriate.

   Second, the named defendants in this action are involved in more than 2,000

opioid-related lawsuits across the country. The goal of the Opiate MDL is to

consolidate these actions in a single court to “substantially reduce the risk of

duplicative discovery, minimize the possibility of inconsistent pretrial obligations,

and prevent conflicting rulings on pretrial motions.” In re Nat’l Prescription Opiate

Litig., 290 F. Supp. at 1379 ; see also Kentucky v. McKesson Corp., No. 3:18-cv-00010

(E.D. Ky. Apr. 12, 2018), Dkt. No. 14 at 3 (“Judge Polster has indicated his desire to

address motions to remand collectively . . . .”) (emphasis added) (attached as Exhibit

6). Permitting this case to proceed on a separate track would frustrate the JPML’s

creation of the Opiate MDL. Absent a stay, Defendants will be forced to litigate the

same issues in multiple forums.

   That is the case here: in addition to myriad CAFA and federal question removals

that have been stayed and transferred to the Opiate MDL, this case presents a third

jurisdictional issue—whether removal is proper under the federal officer removal

statute. This too has arisen in other cases that the JPML has transferred to the

Opiate MDL.5 Indeed, Judge Polster has already resolved the same jurisdictional



Judge Polster can resolve all removal questions at once. In addition, this case presents a basis
for removal—federal officer removal—which was not present in either of the two cases
remanded by Judge Hanen.
5 As of this filing, the JPML has transferred to the MDL at least the following actions, each

of which McKesson removed on federal officer grounds: Robinson Rancheria v. McKesson
Corp., No. 3:18-cv-02525 (N.D. Cal.); Hopland Band of Pomo Indians, v. McKesson Corp.,
No. 3:18-cv-02528 (N.D. Cal.); Scotts Valley Band of Pomo Indians v. McKesson Corp.,
No. 3:18-cv-02529 (N.D. Cal.); Round Valley Indian Tribes v. McKesson Corp., No. 3:18-cv-
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issue. In another case involving removal under the federal officer removal statute,

Lac Courte Oreilles Band of Lake Superior Chippewa Indians v. McKesson Corp.,

2018 WL 2390120, at *2 (W.D. Wisc. May 25, 2018), the Western District of Wisconsin

issued a stay and remarked: “It’s a close call whether federal-officer removal is proper

in these cases. Were this court to deny the remand motion, the possibility of

inconsistent rulings would be great.” Id. Because the court recognized that the

defendant’s removal theory was complex, it recognized that a stay was necessary “so

that one court can issue one ruling on a difficult issue.” Id.

   Shortly thereafter, Judge Polster issued a thorough opinion resolving the federal

officer removal question that had been presented in Lac Courte as well as a

companion case from another district court. Judge Polster ruled that removal was

proper in both cases. See In re Nat’l Prescription Opiate Litig., 327 F. Supp. 3d 1064

(N.D. Ohio 2018). To ensure consistent rulings on this theory of removal, a brief stay

is likewise needed here.




02530 (N.D. Cal.); Redwood Valley or Little River Band of Pomo Indians of the Redwood
Valley Rancheria v. McKesson Corp., No. 3:18-cv-02531 (N.D. Cal.); Guidiville Rancheria of
California v. McKesson Corp., No. 3:18-cv-02532 (N.D. Cal.); Coyote Valley Band of Pomo
Indians v. McKesson Corp., No. 3:18-cv-02533 (N.D. Cal.); Consolidated Tribal Health Project
Inc. v. McKesson Corp., No. 3:18-cv-02534 (N.D. Cal.); Center Point, Inc. v. McKesson Corp.,
No. 3:18-cv-02535 (N.D. Cal.); Big Valley Band of Pomo Indians of the Big Valley Rancheria
v. McKesson Corp., No. 3:18-cv-02536 (N.D. Cal.); Big Sandy Rancheria of Western Mono
Indians v. McKesson Corp., No. 3:18-cv-02537 (N.D. Cal.); Lac Courte Oreilles Band of
Superior Chippewa Indians v. McKesson Corp., No. 3:18-cv-00286 (W.D. Wisc.); Red Cliff
Band of Lake Superior Chippewa Indians v. McKesson Corp., No. 3:18-cv-00380 (W.D. Wisc.);
Fond du Lac Band of Lake Superior Chippewa v. McKesson Corp., No. 0:18-cv-02713 (D.
Minn.); City of Tucson v. Purdue Pharma, L.P., No. 4:19-cv-00167 (D. Ariz.); Pima Cty. v.
Purdue Pharma, L.P., No. 4:19-cv-00166 (D. Ariz.); Cherokee Nation v. McKesson Corp., No.
6:18-cv-00056 (E.D. Okla.); Osage Nation v. Purdue Pharma L.P.., No. 4:19-cv-00485 (N.D.
Okla.); City of Portsmouth v. Purdue Pharma L.P., No. 2:19-cv-00331 (E.D. Va.).
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   It bears emphasis that although McKesson has removed a number of other opioid-

related actions on the same federal officer grounds as this action, no district court in

the country has ruled on plaintiffs’ remand motions before the JPML made a final

transfer decision. To the contrary, in every case McKesson removed on the same

federal officer grounds as this action and in which plaintiffs moved to remand, courts

have unanimously declined to rule on the remand motions and allowed the JPML to

transfer the case to the MDL. See Lac Courte Oreilles Band of Lake Superior

Chippewa Indians, 2018 WL 2390120, at *2; Order Granting Motions to Stay,

Robinson Rancheria v. McKesson Corp., No. 3:18-cv-02525 (N.D. Cal. July 16, 2018),

ECF No. 23 (staying proceedings in actions removed on federal officer grounds);

Order, Tucson Med. Ctr. v. Purdue Pharma, No. 4:18-cv-00481 (D. Ariz. Oct. 5, 2018),

ECF No. 50 (same); City of Portsmouth v. Purdue Pharma L.P., No. 2:19-cv-00331-

HCM-LRL (E.D. Va. Oct. 3, 2019), ECF No. 52 (transferring action to MDL despite

pending remand motion).

   If this Court were to rule on Plaintiff’s remand motion before the JPML decides

transfer, it would be the first and only court in the country to do so, creating a

significant risk of inconsistent rulings on the same jurisdictional issue—one that

Judge Polster has already resolved. The better course is to do as other district courts

across the country have done without exception: defer consideration of the remand

motion and allow the JPML to make a final transfer decision.

   Third, a brief stay will not prejudice any party. If the JPML transfers this case to

the Opiate MDL, Plaintiff will have the opportunity to present a motion to remand to


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Judge Polster. This will guarantee consistent results with respect to both Plaintiff

and other similarly-situated plaintiffs, as the remand issues will be decided under

Fifth Circuit law and will control in all of the Opiate MDL cases that present this

identical issue. See In re Silica Prods. Liab. Litig., 398 F. Supp. 2d 563, 644 n.128

(S.D. Tex. 2005) (“When considering the issue of federal subject-matter jurisdiction,

the Court will apply the law of the Fifth Circuit [to all remand motions pending in

the MDL].”). Also, in the event that the JPML decides against transferring this case

to the Opiate MDL, this Court can hear and decide Plaintiff’s remand motion at that

time. See Halliburton Energy Sers., Inc., 2012 WL 149525, at *3 (“If the case is not

transferred, this Court will decide the Motion to Remand promptly.”).

   Because the JPML already has issued a conditional transfer order, any delay in

the consideration of Plaintiff’s remand motion will be brief. See Nguyen, 2010 WL

3169316, at *1 (“The stay against the remaining Defendants in this case should be in

effect for no more than a few weeks.”). The JPML is likely to make a final transfer

decision in the next few months.6 Accordingly, any potential prejudice to Plaintiff

from that short delay is far outweighed by the hardships that Defendants would face

in the absence of a stay.

   In the end, it makes little sense for this Court to depart from the Chief Judge’s

reasoning in Jim Hogg and Jim Wells and to undertake to resolve the complex

removal issues presented in this case before the JPML has had a chance to render a



   6    See Judicial Panel on Multidistrict         Litigation,   Hearing   Information,
http://www.jpml.uscourts.gov/hearing-information.

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final transfer decision. Because the jurisdictional issues presented in this case are

factually and legally complex, and are identical to jurisdictional issues raised in other

cases pending in the Opiate MDL, a temporary stay is warranted.

VI.     CONCLUSION

      For these reasons, Defendants CVS Health Corporation and McKesson

Corporation respectfully request that this Court stay all proceedings in this case

pending a decision by the JPML whether to transfer this case to the Opiate MDL.

Date: October 29, 2019

                                             Respectfully Submitted,

                                             BRADLEY ARANT BOULT
                                             CUMMINGS LLP

                                             By: /s/ Mark E. Torian
                                             MARK E. TORIAN
                                             Texas Bar No. 24028051
                                             mtorian@bradley.com

                                             4400 Renaissance Tower
                                             1201 Elm Street
                                             Dallas, Texas 75270
                                             (214) 939-8700 (Telephone)
                                             (214) 939-8787 (Facsimile)

                                             Conor B. O’Croinin*
                                             Zuckerman Spaeder LLP
                                             100 East Pratt Street, Suite    2440
                                             Baltimore, MD 21202–1031
                                             (410) 949–1160
                                             cocroinin@zuckerman.com

                                             * denotes national counsel who will seek
                                             pro hac vice admission

                                             ATTORNEYS FOR DEFENDANT
                                             CVS HEALTH CORPORATION

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     /s/ Craig Smyser

     Craig Smyser
     Texas Bar No. 18777575
     Fed. Bar No. 848
     csmyser@skv.com
     Tyler G. Doyle
     Texas Bar No. 24072075
     Fed. Bar No. 1373873
     tydoyle@skv.com
     David Isaak
     Texas Bar No. 24012887
     Fed. Bar No. 26694
     disaak@skv.com
     Razvan Ungureanu
     Texas Bar No. 24085630
     Fed. Bar No. 2006928
     razvan@skv.com
     Kristin Adler
     Texas Bar No. 793233
     Fed. Bar No. 21273
     kadler@skv.com
     Michelle S. Stratton
     Texas Bar No. 24085606
     Fed. Bar No. 2592215
     mstratton@skv.com
     Crystal Robles
     Texas Bar No. 24083754
     Fed. Bar No. 2070295
     crobles@skv.com
     SMYSER KAPLAN &VESELKA L.L.P.
     717 Texas Avenue, Suite 2800
     Houston, Texas 77002
     Phone: 713-221-2300
     Fax: 713-221-2320

     ATTORNEYS FOR DEFENDANT
     MCKESSON CORPORATION




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                             Certificate of Service

   In accordance with Local Rule 5.3, I certify that this motion was served on all

parties via the Court’s CM/ECF system.

                                          /s/ Mark E. Torian
                                          Mark E. Torian




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